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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION


AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.


                       DECLARATION OF THOMAS FANT
                       IN SUPPORT OF MOTION FOR TRO

I, Thomas Fant, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in Massachusetts and am currently retired.

3.​ I am a military veteran. From 1996 to 1998, I served in the U.S. Coast Guard,
    until I was medically discharged.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation, as well as all of my healthcare, from the
    Veterans Administration.

5.​ As a result of my military service and the financial benefits I receive, federal
    government agencies, including the Department of Treasury, have sensitive
    personal information about me in their record systems.

6.​ At the Department of Treasury, this information includes my social security
    number, date of birth, bank account information, and home address.

7.​ I provided this personal information in order to access essential services like
    disability payments. When I provided the information, I expected that the data
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    would be used to facilitate my access to these services and only for legally
    authorized purposes. I also expected that the government would zealously
    safeguard access to that information.

8.​ I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

9.​ I am alarmed, disturbed, and anxious that the government-facilitated
    unauthorized access to my personal information, and that of millions of other
    Americans, will enable third parties affiliated with Elon Musk and the so-called
    “Department of Government Efficiency” to illegally and corruptly profit at my
    expense and at the expense of the American people, especially my fellow
    veterans.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​    ​      ​

​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
​      ​     ​      ​     ​      ​        ​    Thomas Fant

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.
